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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

WILLIAM EDWARD TURNER                            :

       Petitioner                                :

             v.                                  :   Civil Action No. RWT-10-2587
                                                     Criminal Action No. 04-235
UNITED STATES OF AMERICA                         :

       Respondent
                                               o0o


                                      MEMORANDUM OPINION

       On September 16, 2010, Petitioner filed the above-captioned motion to vacate pursuant to 28

U.S.C. '2255. ECF No. 1398. For the reasons that follow, the motion must be dismissed without

prejudice for lack of jurisdiction.

       Petitioner filed his first motion to vacate on June 25, 2007. ECF No. 1137. A second motion

to vacate filed on October 27, 2008, was denied without prejudice for lack of jurisdiction. ECF Nos.

1252-1253.     The instant motion represents another successive '2255 challenge to Petitioner=s

conviction. As Petitioner has previously been advised by this Court, the motion may not be

considered absent leave to do so from the Fourth Circuit Court of Appeals. See 28 U.S.C.

''2244(b)(3)(A)& 2255; In re Avery W. Vial, 115 F.3d 1192, 1194 (4th Cir. 1997) (en banc). Under

28 U.S.C. '2255(h):

                       A second or successive motion must be certified as
                       provided in section 2244 by a panel of the appropriate
                       court of appeals to containB(1) newly discovered
                       evidence that, if proven and viewed in light of the
                       evidence as a whole, would be sufficient to establish
                       by clear and convincing evidence that no reasonable
                       fact finder would have found the movant guilty of the
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                        offense; or (2) a new rule of constitutional law, made
                        retroactive to cases on collateral review by the
                        Supreme Court, that was previously unavailable.

       Petitioner has not received the proper certification from the Fourth Circuit. Consequently,

this Court may not consider the merits of his claim unless and until certification is obtained.

       As Petitioner is aware, the United States Court of Appeals for the Fourth Circuit has set forth

instructions for the filing of a motion to obtain the aforementioned authorization order. The

procedural requirements and deadlines for filing the motion are extensive. The Court shall provide

Petitioner a packet of instructions promulgated by the Fourth Circuit which addresses the

comprehensive procedure to be followed should Petitioner wish to seek authorization to file a

successive petition with the appellate court. It is to be emphasized that Petitioner must file his

pleading with the Fourth Circuit Court of Appeals and obtain authorization to file his successive

petition before this court may examine his claims.

       A separate order follows.


Date: October 1, 2010                                     /s/__________________
                                               ROGER W. TITUS
                                               UNITED STATES DISTRICT JUDGE
